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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                                  (AT LOUISVILLE)


JAMES W. HOOVER, JR.,                       )
                                            )
       Plaintiff,                           )
                                            )
              vs.                           )       CASE NO. 3:17-cv-00524-GNS
                                            )
WEBBANK, INC., et al.,                      )
                                            )
Defendants.


                      JOINT NOTICE OF VOLUNTARY DISMISSAL

       Comes the Plaintiff, James W. Hoover, and the Defendant, Trans Union, LLC, and pursuant

to Fed. R. Civ. Proc. 41(a)(1)(A)(i), Plaintiff hereby dismisses with prejudice all of his claims

against Defendant, Trans Union, LLC with prejudice. Plaintiff and Trans Union, LLC each party

bear their own costs and attorneys’ fees.

                                                    Respectfully submitted,

                                                    /s/David W. Hemminger
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 20th day of October, 2017, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic
filing to all parties of record.

                                                      /s/David W. Hemminger
                                                      David W. Hemminger
